
Follett, J.
Property benefited by the opening of streets, not more than one mile in length, in the twenty-third and twenty-fourth wards, may be assessed to the extent of the benefits conferred for the purpose of paying the cost of laying them out; but in case the streets laid out are more than a mile in length, not more than one-half of their cost can be assessed upon property benefited, and the city is liable for the remainder. Consolidation Act, Laws 1882, chap. 410, §§ 677-958. In 1871, the commissioners of Morrisania filed a map showing a continuous street, now known as One Hundred and Sixty-seventh street, which was more than a mile in length, and extended from Westchester avenue on the east, to Jerome avenue on the west. From Westchester avenue to Prospect avenue the distance is 2,945 feet; from Prospect avenue to Boston avenue the distance is 1,554 feet; from Boston avenue to Clay avenue the distance is 2,130 feet; from Clsy avenue to Sheridan avenue is 2,230 feet; from Sheridan avenue to Jerome avenue is 1,520 feet.
From Westchester avenue to Prospect avenue the street has been legally laid out; from Prospect avenue to Boston avenue a *33street was once opened, but has been discontinued ; from Boston avenue to Clay avenue a street has been laid out, and is known as a portion of One Hundred and Sixty-seventh street; from Clay avenue to Sheridan avenue there is no existing street; from Sheridan avenue to Jerome avenue a street has been laid out, and is known as part of One Hundred and Sixty-seventh street. The distance between Westchester avenue, on the east, and Jerome avenue, on the west, by the line of the street, as shown on the old map, is about 10,429 feet. The aggregate length of the three sections of the street legally laid out is 6,595 feet, or 1,315 feet more than one mile. February 19, 1892, commissioners were appointed to assess the damages and benefits to the property caused by opening a street from Westchester avenue to Prospect avenue, a distance, as before stated, of 2,945 feet. The assessment was made upon the basis that the proposed street was less than one mile in length, and that all, instead of one-half, of its cost was to be borne by, and was assessed upon, the property benefited. There is no evidence in the case that the city proposes to unite the three sections known as One Hundred and Sixty-seventh street so as to make a continuous street from Westchester to Jerome avenue, nor is there any evidence that the city intends to lay or continue a street between Prospect and Boston avenues, or between Clay and Sheridan avenues, so that any two of the sections of the street known as One Hundred and Sixty-seventh street will be united and form a street more than a mile in length. Mr. Grieffenberg, an assistant topographical engineer of the street department, who was the only witness examined, testified that One Hundred and Sixty-seventh street was originally laid out from Prospect to Boston avenue, but that it had been discontinued and canceled from the map, and forms no part of One Hundred and Sixty-seventh street. It was discontinued February 14,1889. This evidence was not disputed. The fact that the three unconnected sections or streets are known as One Hundred and Sixty-seventh, and aggregate more than one mile in length, does not require that one-half the cost of opening the east section or street be assessed on the city. Each of these sections or streets was opened on different dates, and each is a perfect street of itself, commencing and terminating at avenues. Neither is a cul cle sac.
There is no physical connection between these sections or streets, nor does it appear that a union is contemplated or practical, and there is no connection between them except the name. Had one of these sections been called Gold street, another Silver street, and the part involved in these proceedings 167th street, it would not, we think, have been asserted that 167th street was, by reason of the existence of Gold and Silver streets, more than one mile in length, even though it had been originally contemplated that they should form a continuous street, bearing the same name. The section of the statute relating to the assessment of damages has reference to the length of the street as laid out. If, as opened, it is less than one mile in length, and is of itself a perfect street, the owners must bear the whole even it *34was originally designed by the street department to be much longer.
The order should be affirmed, with costs.
Van Brunt, P. J., and O’Brien, J., concur.
